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              EXHIBIT D
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                                                                     FILED 1st JUDICIAL DISTRICT COURT
                                                                                          Santa Fe County
                                                                                      6/21/2024 11:14 AM
FIRST JUDICIAL DISTRICT COURT                                      KATHLEEN VIGIL CLERK OF THE COURT
COUNTY OF SANTA FE                                                               Jacqueline Rosales Juarez
STATE OF NEW MEXICO

STATE OF NEW MEXICO, EX REL.,
RAÚL TORREZ, ATTORNEY GENERAL,

       Plaintiff,

v.                                                            NO. D-101-CV-2023-02838

META PLATFORMS, INC.; INSTAGRAM, LLC;
META PAYMENTS, INC.; META PLATFORMS
TECHNOLOGIES, LLC; and
MARK ZUCKERBERG,

       Defendants.


                               ORDER DENYING THE
                       META DEFENDANTS’ MOTION TO DISMISS

       This matter comes before the Court on the Motion to Dismiss (the “Motion”) filed by

Defendants Meta Platforms, Inc.; Instagram, LLC; Meta Payments, Inc.; and Meta Platforms

Technologies, LLC (collectively, “Meta” or the “Meta Defendants”). The Meta Defendants filed

the Motion on March 1, 2024, along with Declarations of Nicholas Wong and Bradley W. Davis

in support of the Motion. Plaintiff State of New Mexico (the “State”) filed its opposition brief on

March 19, 2024, along with several attachments. The Meta Defendants filed their reply brief on

April 8, 2024. The Meta Defendants filed a Notice of Supplemental Authority on May 24, 2024,

and the State filed a Notice of Supplemental Authority on May 28, 2024. The Court heard oral

argument on the Motion on May 30, 2024.

        Having reviewed and considered the Motion and attached declarations, the opposition

brief and attachments thereto, the reply brief, the arguments of counsel and all authority cited by

the parties both in their briefs, in their notices of supplemental authority and at oral argument, the

Court DENIES the Motion in its entirety for the reasons that follow:
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       1.      The Court finds that based on Rule 1-012(B)(6) and notice pleading standards the

Motion is DENIED.

       2.      With respect to Meta’s arguments concerning personal jurisdiction, the Court finds

that there are sufficiently pled activities in New Mexico in terms of data harvesting,

advertisements, apps on phones and targeting of New Mexico consumers to render the Complaint

inappropriate for dismissal on Rule 1-012(B)(6) grounds.

       3.      With respect to Meta’s arguments concerning application of Section 230, the Court

understands that there are considerable issues related to the difference between design and other

non-publisher activities and publisher activities, such as decisions about content, curation, and the

like. Applying the standards applicable to a Rule 1-012(B)(6) motion, the Court DENIES Meta’s

Motion.

       4.      With respect to Meta’s arguments concerning application of the First Amendment,

Meta’s counsel pointed out at oral argument that the issues largely overlap with the Section 230

arguments and analysis, and there is ambiguity concerning whether Meta’s conduct constitutes a

decision or judgment related to content or product design non-speech issues. Applying the

standards applicable to a Rule 1-012(B)(6) motion, the Court DENIES Meta’s Motion.

       5.      With respect to Meta’s arguments concerning the elements of public nuisance, the

Court notes that a spectrum exists between Judge Mathew’s analysis in State of New Mexico ex

rel. Balderas v. Purdue Pharma L.P., No. D-101-CV-2017-02541 (1st Jud. Dist. June 15, 2022),

and, for example, the decision of the Oklahoma supreme court in State ex rel. Hunter v. Johnson

& Johnson, 499 P.3d 719, 724-25 (Okla. 2021), concerning the existence of a public right.

Applying the standards applicable to a Rule 1-012(B)(6) motion, the Court DENIES Meta’s

Motion.



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       6.      With respect to Meta’s arguments concerning the Unfair Practices Act, at the Rule

1-012(B)(6) level the State has pled sufficient facts to state a claim, including facts alleging

contracts for use and data-versus-use exchange and other things that are pled, which are sufficient

to render dismissal inappropriate. Applying the standards applicable to a Rule 1-012(B)(6) motion,

the Court DENIES Meta’s Motion.

       7.      At the conclusion of the Court’s announcement of this ruling, counsel for Meta

requested inclusion of language pursuant to NMSA 1978 § 39-3-4 (1999) sufficient to permit an

interlocutory appeal of the Court’s order on personal jurisdiction. The Court DENIES that request.

The Court will move forward with the litigation and see if there are other decisions that warrant

inclusion of such language, but, at this point, the delay attendant to an interlocutory appeal does

not warrant inclusion of such language.


It is so ORDERED this 21st day of June, 2024.


                                                     ______________________________
                                                     HON. BRYAN BIEDSCHEID




Submitted and Approved by:

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